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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                             Case No. 11-20178
                                                Honorable Patrick J. Duggan
 DARRELL EWING,

              Defendant.
                                          /

       OPINION AND ORDER (1) DENYING PETITIONER’S MOTION TO
      VACATE, SET ASIDE, OR CORRECT SENTENCE PURSUANT TO 28
       U.S.C. § 2255, (2) DENYING AN EVIDENTIARY HEARING, AND (3)
         GRANTING IN PART A CERTIFICATE OF APPEALABILITY

        On March 19, 2014, Petitioner Darrell Ewing filed a motion under 28 U.S.C.

 § 2255 to vacate, set aside, or correct his sentence. Serving a 180-month sentence

 of imprisonment pursuant to a plea-based conviction for violating federal drug

 laws, Ewing raises three challenges to the length of his sentence. Specifically,

 Ewing argues that he was denied the effective assistance of counsel at the plea-

 bargaining stage when his attorney provided him with erroneous advice regarding

 his potential sentence exposure and because his attorney misinformed him about

 his ability to obtain custody credit (i.e., credit for “time-served”) towards his

 federal sentence for the time Ewing spent in federal custody. In addition to the

 ineffective assistance of counsel claims, Ewing also contends that he was denied
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 due process and equal protection by virtue of the Government’s alleged breach of

 the plea agreement. Ewing seeks specific performance of the plea agreement, or,

 at minimum, asks this Court to hold an evidentiary hearing to establish the factual

 predicates of his constitutional claims. For the reasons set forth herein, the Court

 declines to grant an evidentiary hearing and denies Ewing’s § 2255 motion but

 grants a certificate of appealability in part.

              I.    FACTUAL AND PROCEDURAL BACKGROUND

 A.    Plea Agreement

       On November 5, 2012, Ewing pleaded guilty to one count of controlled

 substance conspiracy, in violation of 21 U.S.C. § 846. (Plea Ag., ECF No. 217.)

 The terms of the plea were set forth in a written Rule 11(c)(1)(C) plea agreement.1

       Despite an actual sentencing guidelines range of 210 to 240 months

 calculated by the Probation Department and accepted by the parties and the Court,

 the operative plea agreement provided for a lower sentencing range. Specifically,

 Ewing and the Government agreed on a sentencing range of 144 to 204 months and

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           Federal Rule of Criminal Procedure 11(c)(1)(C) provides, in pertinent part:

       If the defendant pleads guilty or nolo contendere to either a charged
       offense or a lesser or related offence, the plea agreement may specify
       that an attorney for the government will: . . . agree that a specific
       sentence or sentencing range is the appropriate disposition of the case,
       or that a particular provision of the Sentencing Guidelines, or policy
       statement, or sentencing factor does or does not apply (such
       recommendation or request binds the court once the court accepts the
       plea agreement).
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 further agreed that if the Court sentenced Ewing outside of this range, the

 dissatisfied party could withdraw from the plea agreement. At the November 5,

 2012 plea hearing, the Court confirmed that this was Ewing’s understanding of the

 sentencing range:

       THE COURT: . . . [The agreement] indicates that the Government
       and defendant agree the sentence of imprisonment may be between
       144 to 204 months, is that your understanding of the agreement?

       THE DEFENDANT: Yes, sir.

 (Plea Hrg. Tr. 8, ECF No. 276.) The Court then inquired as to the existence of any

 other agreements:

       THE COURT: Is there any other agreement made with anyone to
       persuade you to plead guilty?

       THE DEFENDANT: No.

       THE COURT: Have you made any other agreement besides this one?

       THE DEFENDANT: No, sir.

       …

       THE COURT: You understand if I accept this plea[,] I’m going to
       refer the matter to the probation department for a presentence report?

       THE DEFENDANT: Yes, Your Honor.

       THE COURT: And based on the information in that report, other
       information you or your lawyer can give me, I’ll then decide what I
       think to be the proper sentence?

       THE DEFENDANT: Yes, Your Honor.

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 (Id. at 8-9.) After a series of questions ensuring that Ewing reviewed the

 agreement with counsel, understood the terms of the plea, and that he was not

 coerced into pleading guilty, the Court accepted Ewing’s guilty plea. (Id. at 11.)

 B.    Sentencing

       Ewing returned to the Court for sentencing on January 28, 2013. Upon the

 Government’s recommendation, the Court sentenced Ewing to 180 months of

 imprisonment, which is plainly within the agreed-upon sentencing range of 144 to

 204 months.

       Leading up to the imposition of the sentence, Ewing’s attorney, Marlon

 Evans, began making representations in open court that Ewing was under the

 impression that the Government was going to recommend a sentence of 144

 months, not 180 months. (Sent’g Hrg. Tr. 8, 16, 19, ECF No. 277.) The Court

 proceeded to inquire as to whether the prosecuting attorney, Mark Chasteen, did

 indeed make such a commitment, which, according to Ewing’s attorney, was made

 orally in the courtroom prior to the plea colloquy. (Id. at 20-22.) Although

 somewhat equivocal, the prosecutor denied committing to a specific number and

 provided a host of explanations for why he would not have done so. (Id. at 19-

 26.) After Ewing’s attorney confirmed that there was nothing in the record or in

 writing to support his client’s belief that the Government had committed to

 recommend a 144-month sentence, the Court reminded the parties that the

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 Government’s recommendation within the agreed-upon sentencing range was not

 binding on the Court. (Id. at 25-26.)

       During his allocution, Ewing wanted “to state, on the record,” that he was

 “induced to take this plea by [the Prosecutor’s] promise of 12 years. And if that’s

 not what he’s standing on today as a man, as his word, that he gave me and my

 lawyer, then I would like to withdraw my plea today.” (Id. at 33-34.) The Court

 denied Ewing’s oral motion to set aside his plea and, in accordance with the

 Government’s recommendation, proceeded to sentence Ewing to a 180-month term

 of imprisonment to run concurrently with a life sentence for murder that Ewing

 was already serving in the Michigan Department of Corrections. (Id. at 34, 36.)

 C.    Appeal

       Ewing filed a timely notice of appeal on January 31, 2013. Among Ewing’s

 claims was that this Court erred in denying his oral motion to withdraw his plea.

 (See Ewing App. Br. attach. Gov’t’s Resp. Ex. B; see also Ewing App. Resp.

 attach. Gov’t’s Resp. Ex. C.) Ewing argued that he only agreed to the plea

 agreement because he was under the impression that the Government would

 recommend a 144-month sentence. Notably, Ewing did not claim on appeal that

 custody credit played any role in his decision to plead guilty.

       The Government moved to dismiss the appeal on the basis that the plea

 agreement contained an appellate waiver provision. In an order dated November

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 26, 2013, the United States Court of Appeals for the Sixth Circuit granted the

 Government’s motion. United States v. Ewing, No. 13-1157 (6th Cir. Nov. 26,

 2013) (slip op.). The Sixth Circuit provided the following explanation for rejecting

 Ewing’s claim of error:

        Ewing’s assertion that he only entered the plea based on his
        understanding that he would be sentenced to 144 months of
        imprisonment has no support in the record. He was informed at his
        hearing regarding the range within which he could be sentenced, he
        agreed that this was his potential range, and he stated that there were
        no other outside agreements. His written plea included an integration
        clause establishing that there were no other outside agreements.
        Ewing’s subjective belief that the government would recommend the
        lowest possible sentence is not a basis for finding his plea unknowing,
        particularly when he was informed that his ultimate sentence was
        within the discretion of the district court.

 Id. at 2-3.

 D.     Section 2255 Motion

        Ewing timely filed the instant § 2255 motion on March 19, 2014. (ECF No.

 358.) The Government filed its response on May 12, 2014. (ECF No. 362.)

                             II.    LEGAL STANDARD

 A.     Section 2255

        A prisoner is entitled to relief under § 2255 “[i]f the court finds that the

 judgment was rendered without jurisdiction, or that the sentence imposed was not

 authorized by law or otherwise open to collateral attack, or that there has been such

 a denial or infringement of the constitutional rights of the prisoner as to render the

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 judgment vulnerable to collateral attack.” 28 U.S.C. § 2255(a). To prevail on a

 § 2255 motion alleging constitutional error in connection with a guilty plea, a

 prisoner “must demonstrate the existence of an error of constitutional magnitude

 which had a substantial and injurious effect or influence on the guilty plea[.]”

 Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003) (citing Brecht v.

 Abrahamson, 507 U.S. 619, 637-38, 113 S. Ct. 1710, 1721-22 (1993)). “Relief is

 warranted only where a [prisoner] has shown ‘a fundamental defect which

 inherently results in a complete miscarriage of justice.’” Id. (quoting Davis v.

 United States, 417 U.S. 333, 346, 94 S. Ct. 2298, 2305 (1974)). In order to prevail

 on a § 2255 motion alleging non-constitutional error, a prisoner must show a

 “fundamental defect in the proceedings which necessarily results in a complete

 miscarriage of justice or an egregious error violative of due process.” Riggs v.

 United States, 209 F.3d 828, 831 (6th Cir. 2000).

       A prisoner seeking relief pursuant to § 2255 bears the burden of establishing

 the claims asserted in his motion. Pough v. United States, 442 F.3d 959, 964 (6th

 Cir. 2006). “It is a ‘well-settled principle that to obtain collateral review relief a

 prisoner must clear a significantly higher hurdle than would exist on direct

 appeal.’” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998) (quoting United

 States v. Frandy, 456 U.S. 152, 166, 102 S. Ct. 1584, 1593 (1982)).

 B.    Evidentiary Hearing

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       “In reviewing a § 2255 motion in which a factual dispute arises, ‘the habeas

 court must hold an evidentiary hearing to determine the truth of the petitioner’s

 claims.’” Valentine v. United States, 488 F.3d 325, 333 (6th Cir. 2007) (quoting

 Turner v. United States, 183 F.3d 474, 477 (6th Cir. 1999)). Although no hearing

 is required where “the motion and the files and records of the case conclusively

 show that the prisoner is entitled to no relief,” 28 U.S.C. § 2255(b), and a “full

 blown evidentiary hearing” is not required in every case, Smith v. United States,

 348 F.3d 545, 550 (6th Cir. 2003) (quoting United States v. Todaro, 982 F.2d

 1025, 1030 (6th Cir. 1993)), “[w]here there is a factual dispute, the habeas court

 must hold an evidentiary hearing to determine the truth of the petitioner’s claims,”

 Turner v. United States, 183 F.3d 474, 477 (6th Cir. 1999).

       The Sixth Circuit has held that where a prisoner’s “allegations ‘cannot be

 accepted as true because they are contradicted by the record, inherently incredible,

 or conclusions rather than statements of facts,’” no hearing is necessary.

 Arredondo v. United States, 178 F.3d 778, 682 (6th Cir. 1999) (quoting Engelen v.

 United States, 68 F.3d 238, 240 (8th Cir. 1995)). However, when a prisoner

 presents affidavits containing “a factual narrative of the events that is neither

 contradicted by the record nor ‘inherently incredible’” and the government offers

 nothing more than “contrary representations” as rebuttal, the prisoner is entitled to

 an evidentiary hearing. Valentine, 488 F.3d at 334.

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                                  III.   ANALYSIS

         Ewing’s § 2255 motion seeks relief on three grounds, two of which involve

 his counsel’s alleged ineffective assistance. Ewing contends that his counsel

 rendered ineffective assistance at the plea-bargaining stage by misrepresenting to

 Ewing that by pleading guilty, he would receive a sentence of 144 months and

 would receive credit towards his federal sentence for the time he was in federal

 custody. Ewing’s third claim is that the Government breached the plea agreement.

 A.      Ineffective Assistance of Counsel Claims

         Criminal “[d]efendants have a Sixth Amendment right to counsel, a right

 that extends to the plea-bargaining process.” Lafler v. Cooper, __ U.S. __, 132 S.

 Ct. 1376, 1384 (2012) (citations omitted). It follows that criminal defendants are

 “entitled to the effective assistance of competent counsel[]” “[d]uring plea

 negotiations[.] Id. (internal quotation marks and quotation omitted). The

 effectiveness of counsel rests upon the now-familiar two-component performance

 and prejudice framework first articulated in Strickland v. Washington, 466 U.S.

 668, 104 S. Ct. 2052 (1984). To prevail on such a claim, a prisoner must

 demonstrate (1) that his attorney’s performance was deficient in that it fell below

 an objective standard of reasonableness and (2) that, but for the deficiency, the

 outcome of the proceedings would have been different. Id. at 694, 104 S. Ct. at

 2068.

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       The Strickland standard applies to guilty pleas. Hill v. Lockhart, 474 U.S.

 52, 58, 106 S. Ct. 366, 370 (1985). “In the context of guilty pleas, the first half of

 the Strickland v. Washington test is nothing more than a restatement of the

 standard of attorney competence.” Griffin, 330 F.3d at 736. To demonstrate

 prejudice, the party seeking to establish ineffective assistance of counsel “must

 show the outcome of the plea process would have been different with competent

 advice.” Lafler, 132 S. Ct. at 1384 (citation omitted); see also Hill, 474 U.S. at 59,

 106 S. Ct. at 370 (explaining that the prejudice requirement “focuses on whether

 counsel’s constitutionally ineffective performance affected the outcome of the plea

 process”). In a case such as this involving a “claim that ineffective assistance led

 to the improvident acceptance of a guilty plea,” the claimant must demonstrate

 “‘that there is a reasonable probability that, but for counsel’s errors, [the

 defendant] would not have pleaded guilty and would have insisted on going to

 trial.’” Lafler, 132 S. Ct. at 1384-85 (quoting Hill, 474 U.S. at 59, 106 S. Ct. at

 370) (alteration in original).

 1.    Ineffective Assistance Regarding Sentence Exposure Claim

       Ewing’s first ineffective assistance argument involves his attorney’s

 allegedly erroneous advice that if he accepted the guilty plea, he would receive a

 sentence of 144 months. It is true that defense counsel’s failure to “provide

 professional guidance to a defendant regarding his sentence exposure prior to a

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 plea may constitute deficient assistance.” Moss v. United States, 323 F.3d 445,

 474 (6th Cir. 2003). However, it is equally true that “[s]olemn declarations in open

 court carry a strong presumption of verity.” Blackledge v. Allison, 431 U.S. 63, 74,

 97 S. Ct. 1621, 1629 (1977). Thus, a prisoner faces a heavy burden in collaterally

 attacking a guilty plea based on allegations contrary to oral responses given in

 open court during a Rule 11 colloquy. Warner v. United States, 975 F.2d 1207,

 1212 (6th Cir. 1992); see also Blackledge, 431 U.S. at 73-74, 97 S. Ct. at 1629

 (“[T]he representations of the defendant, his lawyer, and the prosecutor at [a plea]

 hearing, as well as any findings by the judge accepting the plea, constitute a

 formidable barrier in any subsequent collateral proceedings.”); Ramos v. Rogers,

 170 F.3d 560, 566 (6th Cir. 1999) (explaining that failing to hold defendants to

 their statements would “render[] the plea colloquy meaningless” and “condon[e]

 the practice by defendants of providing untruthful responses to questions during

 plea colloquies”).

       Ewing’s claim of attorney error is belied by the record. The plea agreement

 itself does not contain any promise to recommend a specific sentence and includes

 an integration clause that specifically precludes any outside agreements, including

 oral ones. (Plea Ag. 8.) Ewing indicated that he had sufficiently discussed the

 terms of the plea agreement with counsel prior to the plea hearing and that he

 understood the terms contained therein. (Plea Hrg. Tr. 10.) Both the plea

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 agreement and the plea hearing transcript evidence Ewing’s understanding that the

 Court could impose a sentence between 144 and 204 months. (Plea Ag. 5; Plea

 Hrg. Tr. 8.) During the plea colloquy, the Court informed Ewing of the maximum

 sentence he faced for the count to which he pled and apprised him that the Court

 retained the authority to impose a sentence it believed proper despite the existence

 of the agreement. (Plea Hrg. Tr. 3, 9.) Ewing acknowledged that he waived any

 right to appeal if the Court imposed a sentence within the range contemplated by

 the parties. (Id. at 10-11.)

       It was not until the sentencing hearing that Ewing indicated that the

 Government verbally committed to recommend a sentence of 144 months during

 the plea negotiations. Such a commitment appears nowhere in the record and

 Ewing’s own statements during the plea hearing undermine the veracity of this

 assertion. At no time during the plea hearing did either Ewing or his attorney

 mention a promise by the Government to recommend a sentence of 144 months.

 This is significant given that the Court specifically asked Ewing whether any other

 promises had been made to induce his plea and that Ewing responded in the

 negative not once, but twice. (Plea Hrg. Tr. 8-9.) Further, at the sentencing

 hearing, Ewing did not once mention that his attorney had made any representation

 as to the Court’s inclination to impose a 144-month sentence, rather, as




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 demonstrated more fully below, Ewing repeatedly stated on the record that the

 Government promised 144 months.

       Although Ewing expressly indicated that there were no agreements

 regarding his plea and sentence other than those contained in the plea agreement

 itself, (id.), the sentencing hearing transcript does provide minimal corroboration

 that Ewing’s counsel may have been under the impression that the Government

 agreed not to oppose a sentence at the low end of the agreed-upon guidelines

 range. For instance, Ewing’s attorney informed the Court that he and his client

 “spoke with the Prosecutor and he wasn’t going to put it as part of the agreement,

 but he was not in disagreement with the low ends [sic] of the guidelines[.]”

 (Sent’g Hrg. Tr. 8, ECF No. 277; see also id. at 16 (referring to 144-month

 sentence and indicating that “my client had [the] understanding that that was going

 to be the recommendation the Government was going to give”); id. at 19 (defense

 counsel indicating that his client “believed there would be no objection to the low

 end of the guidelines”).) Later during the hearing, the following exchange

 occurred:

       THE COURT: There was no agreement that it would be the 144?

       MR. EVANS: There was no agreement in the Rule 11 but [the
       Prosecutor] stated no objection for us to argue - - he said he wanted to
       see after he got the presentence report if his opinion changed. I
       haven’t heard any change of an opinion as a result of the presentence
       report.

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             So I’m under the impression, at that point, Your Honor, that he
       has no objection to the low ends [sic] of the guidelines because there’s
       been no circumstances that have change [sic] that would warrant his
       opinion different.

       THE COURT: Where did you get the impression that when you
       agreed to a 144 to 204 [range] that he was agreeing to [] 144? He says
       now, he expressed to you no objection to you arguing for the low end
       of the guideline[s].

       MR. EVANS: Well, maybe - - Your Honor, based upon information
       that my client received while we were in court at the time we took the
       plea, I can’t remember verbatim. He remembers the information, he
       says that it [was] communicated from Mr. Chasteen’s mouth to our
       ears, that that’s what he heard.

       THE COURT [(to the prosecutor)]: You don’t recall making that?

       MR. CHASTEEN: I remember distinctly Mr. Evans and discussing
       what the range would be . . . I do not recall saying that I would
       recommend 12 years. I do remember saying I would want to see what
       the presentence investigation report said. And in fact, I would note
       that the presentence investigation report found additional criminal
       history that we did not know about or I did not know about, otherwise
       it would have been in our calculated sentencing guideline range,
       which it’s not.

 (Id. at 20-21 (emphasis supplied).)

       Despite this minimal support, the record is full of references to a promise

 made by the Government. Mr. Evans explained to the Court: “Your Honor, [my

 client] informs me this was verbal while we were in court we were discussing, he

 was sitting here at this table and Mr. Chasteen, this was the day before the trial . . .

 we were in negotiations. He was listening to the conversation between myself and

 Mr. Chasteen and that’s when he heard the information.” (Id. at 21-22.) Ewing
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 himself indicated that “[t]he Prosecutor promised us a 144 agreement . . . this is

 what he relayed to my attorney and me the day before trial to get us to take the

 plea.” (Id. at 27.) Prior to the imposition of the sentence, Ewing also wanted “to

 state, on the record,” that he was “induced to take this plea by [the prosecuting

 attorney’s] promise of 12 years. And if that’s not what he’s standing on today as a

 man, as his word, that he gave me and my lawyer, then I would like to withdraw

 my plea today.” (Id. at 33-34.)

       The only evidence Ewing offers to support his contention that his attorney

 misadvised him about his potential sentence exposure are three affidavits attached

 to his § 2255 motion. The first affidavit, from Ewing’s mother, provides:

              On November 5, 2012[,] my son, Darrell Ewing’s defense
       counsel, Marlon Evans, told me personally that my son would be
       sentenced to 144 months imprisonment, ran [sic] concurrent, with
       credited time for being in federal custody, which was an agreement
       received from the United States attorney of an 144 month
       recommendation, which is the only reason my son, Darrell Ewing
       withdrew his motion to remove counsel and decide not to go to trial as
       he had insisted.[2]

             This information from counsel was relayed to me in the
       courtroom in the presence of my daughter Tearra Dodson and my
       son’s girlfriend Sharelle Hogan.


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         The Court notes that the docket does not reflect that Ewing filed a motion
 seeking to remove his trial counsel during the time referenced in Ms. Dodson’s
 affidavit. Rather, the record shows that Ewing filed a motion for withdrawal of
 attorney on February 13, 2013, two weeks after he filed his notice of appeal. (ECF
 No. 269.) This factual inconsistency renders the affidavit, which already contains
 hearsay, less than fully credible.
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 (L. Dodson Aff. attach. to Pet.’s Mot. as App. 1.) The second affidavit, from

 Ewing’s sister, provides similar assertions. (T. Dodson Aff. attach. to Pet.’s Mot.

 as App. 2.) The third affidavit is that of Ewing himself. This last affidavit

 provides: “I was lured into pleading guilty with erroneous information given to me

 by [counsel], in that he misinformed me that the prosecutor had agreed to a 144

 month recommendation, ran [sic] concurrent, with credited time for being in

 federal custody.” (D. Ewing Aff. attach. to Pet.’s Mot. as App. 3.)

       The Court is not persuaded that these affidavits create a factual dispute

 because the contents are plainly contradicted by the record. Arredondo, 178 F.3d

 at 682 (indicating that a prisoner’s allegations cannot be accepted as true where

 they are contradicted by the record). Ewing has provided no explanation for what

 he now effectively contends were false statements made to the Court during the

 plea colloquy. He is thus bound by those statements unless he shows extraordinary

 circumstances tending to indicate that his answers in open court were untrue and

 that his plea was unknowing and involuntary as a result of his attorney’s allegedly

 erroneous advice. Garnica v. United States, 361 F. Supp. 2d 724, 736-37 (E.D.

 Tenn. 2005) (rejecting petitioner’s claim that his counsel was ineffective for

 providing erroneous advice regarding his sentence because petitioner pled guilty

 following a properly-conducted Rule 11 colloquy and did not present factual

 support for his contention that his attorney misadvised him as to his sentence

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 exposure). This he cannot do. Based on the record before it, the Court is unable to

 conclude that Ewing’s attorney performed deficiently so as to satisfy the first

 prong of Strickland. The Court need not, therefore, address whether Ewing was

 prejudiced.

       Although Ewing has “offer[ed] more than a mere assertion” that his attorney

 misled him with regard to his potential sentence, his “factual narrative of the

 events . . . is . . . contradicted by the record[.]” Valentine, 488 F.3d at 334. The

 assertion that his attorney (as opposed to the Government) promised a 144-month

 sentence is contradicted by Ewing’s statements at the plea colloquy and by his

 representations at sentencing. Although the affidavits present some evidence to

 bolster his contention, Ewing’s on-the-record statements carry great weight.

 Blackledge, 431 U.S. at 73-74, 97 S. Ct. at 1629 (“[T]he representations of the

 defendant, his lawyer, and the prosecutor at [a plea] hearing, as well as any

 findings by the judge accepting the plea, constitute a formidable barrier in any

 subsequent collateral proceedings.”). In short, the Court is not persuaded that

 Ewing has satisfied his burden of demonstrating that he is entitled to an evidentiary

 hearing. It necessarily follows that Ewing has not discharged the more demanding

 burden of showing that he is entitled to relief on this claim.

  2.   Ineffective Assistance Claim Regarding Custody Credit




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       Ewing also claims that his counsel was ineffective because he advised

 Ewing that he would receive credit towards his federal sentence for the time he

 spent in federal custody.3 As with Ewing’s other ineffective assistance claim, he

 faces a heavy burden in collaterally attacking a guilty plea based on allegations

 contrary to oral responses given in open court during a Rule 11 colloquy. Warner,

 975 F.2d at 1212.

       The plea agreement Ewing signed contains no reference at all to custody

 credit. At the plea hearing, Ewing indicated that he understood the terms of the

 plea agreement and that no other agreements existed. Ramos, 170 F.3d at 566

 (explaining that failing to hold defendants to their statements would “render[] the

 plea colloquy meaningless” and “condon[e] the practice by defendants of

 providing untruthful responses to questions during plea colloquies”). At

 sentencing, Ewing’s counsel advocated for jail credit regarding time-served in

 federal custody. In rejecting this request, the Court explained that Ewing was

 receiving credit on his state sentence and was therefore not eligible to receive time-

 served on his federal sentence. The Court also noted that jail-time calculations are

 within the province of the Bureau of Prisons, not the Court. (Sent’g Hr. Tr. 17-18.)




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        According to Ewing, he spent nearly ten months in federal custody.
 During all ten of those months, however, Ewing was (and still is) serving a
 mandatory life sentence in the Michigan Department of Corrections for murder.
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        Ewing did not reference the alleged advice regarding custody credit at

 sentencing and did not raise the issue on appeal. The Court finds this significant

 because during Ewing’s allocution, he specifically pointed to the alleged promise

 by the Government to recommend at 144-month sentence as the impetus to his

 acceptance of the plea agreement. The same is true of the claims raised on appeal.

 For these reasons, the Court does not believe Ewing is entitled to either an

 evidentiary hearing or to relief on his claim that his attorney was ineffective.

 B.     Breach of Plea Agreement Claim

        In addition to his ineffective assistance claims, Ewing contends that the

 Government breached its agreement to recommend a sentence of 144 months. As

 mentioned several times herein, there is no evidence in the record that this

 purported agreement was a product of anything other than Ewing’s own subjective

 beliefs.

        “In determining whether a plea agreement has been broken, ‘the trial court

 should look to what the defendant reasonably understood’ when he entered into the

 agreement.” United States v. Phibbs, 999 F.2d 1053, 1081 (6th Cir. 1993) (quoting

 United States v. Herrera, 928 F.2d 769, 771 (6th Cir. 1991)). “The most

 persuasive evidence of what a defendant reasonably appreciated as his bargain is

 found in the plain language of the court-approved agreement.” Id. Here, the plain

 language of the agreement accepted by the Court provided that the Government

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 agreed to a sentencing range of 144 to 204 months. There is nothing in the

 language of the agreement supporting Ewing’s contention that the Government

 agreed to recommend a sentence of 144 months.

       Further, the plain language of the agreement, which Ewing reviewed with

 his attorney on more than one occasion and which Ewing indicated he understood,

 provided that “no oral or written promises made by the government to defendant or

 to the attorney for the defendant at any time before defendant pleads guilty are

 binding except to the extent that they have been explicitly incorporated into this

 agreement.” (Plea Ag. 8.) This language is unmistakably an integration clause.

 “Once the government enters into a Rule 11 plea agreement containing an

 integration clause, the result ordinarily should be final and immune from collateral

 attack, whether such attack occurs before or after sentencing.” United States v.

 Hunt, 205 F.3d 931, 935 (6th Cir. 2000). This general rule applies in this case.

       In short, the plea agreement and the plea hearing appear to conclusively

 refute Ewing’s claim that the Government breached the plea agreement. The

 agreement accepted by the Court provided that the Court could impose a sentence

 between 144 and 204 months. Any subsequent recommendation by the

 Government within that range would not bind the Court. Ewing was sentenced to

 180 months and therefore received the benefit of his bargain. Ewing is not entitled

 to an evidentiary hearing or to relief on this claim.

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                   IV.   CERTIFICATE OF APPEALABILITY

       When a district court enters a final order adverse to a § 2255 movant, it must

 issue or deny a certificate of appealability. See Rule 11(a) of the Rules Governing

 Section 2255 Proceedings. A certificate of appealability may issue “only if the

 applicant has made a substantial showing of the denial of a constitutional right.” 28

 U.S.C. § 2253(c)(2). The Supreme Court has provided that, to demonstrate

 entitlement to a certificate of appealability pursuant to § 2255, a movant must

 show “that reasonable jurists could debate whether (or, for that matter, agree that)

 the petition should have been resolved in a different manner or that the issues

 presented were adequate to deserve encouragement to proceed further.” Slack v.

 Daniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 1603-04 (2000) (internal quotation

 marks and citation omitted). “If the court issues a certificate, the court must state

 the specific issue or issues that satisfy the showing required by 28 U.S.C. §

 2253(c)(2).” Rule 11(a) of the Rules Governing Section 2255 Proceedings.

       Having denied the three claims presented in Ewing’s § 2255 motion on the

 merits, the Court must make a determination as to whether the issuance of a

 certificate of appealability is warranted. While this Court believes that its decision

 not to grant an evidentiary hearing on any of Ewing’s three claims of constitutional

 error is the correct holding, such holding is at least arguably debatable. Therefore,

 the Court will grant Ewing a certificate of appealability as to the question of

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 whether or not the Court should have conducted an evidentiary hearing on any of

 Ewing’s claims but not as to any other issue.

                        V.    CONCLUSION AND ORDER

       For the reasons stated above, the Court concludes that Ewing is not entitled

 to the relief he seeks in his § 2255 motion.

       Accordingly,

       IT IS ORDERED that Ewing’s motion to vacate, set aside, or correct

 sentence pursuant to 28 U.S.C. § 2255 is DENIED;

       IT IS FURTHER ORDERED that Ewing’s request for an evidentiary

 hearing is DENIED;

       IT IS FURTHER ORDERED that Ewing is GRANTED a

 CERTIFICATE OF APPEALABILITY on the issue of whether or not the Court

 should have conducted an evidentiary hearing on any of Ewing’s claims but not as

 to any other issue.

 Dated: June 26, 2014

                                        s/PATRICK J. DUGGAN
                                        UNITED STATES DISTRICT JUDGE

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